                 Case 2:20-cv-01169-BJR Document 13 Filed 09/25/20 Page 1 of 2



1                                                      HONORABLE BARBARA J. ROTHSTEIN
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6
                               UNITED STATES DISTRICT COURT
7
                              WESTERN DISTRICT OF WASHINGTON
8
                                        AT SEATTLE

9    UNITED STATES OF AMERICA, for the
     use and benefit of THYSSENKRUPP                 NO. 2:20-cv-01169-BJR
10   ELEVATOR CORPORATION, a Delaware
     corporation,                                    STIPULATION AND ORDER FOR
11                                                   JOINDER
                          Plaintiff,
12
            v.
13
     THE GUARANTEE COMPANY OF
14
     NORTH AMERICA USA, a foreign
15   insurance company; and SKYTEK LLC, a
     Washington limited liability company,
16
                          Defendants.
17

18                                         STIPULATION

19          THE PARTIES, through their attorneys of record, hereby stipulate that Federal Insurance

20   Company be joined as a third party defendant pursuant to FRCP 19(a)(1), given that Federal

21   Insurance Company issued subcontract performance bond number 82440444 in favor of defendant

22   Skytek.

23          SO STIPULATED this 15th day of September, 2020.

24   //

25   //

     STIPULATION AND ORDER                                     Heurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
                                                                               211 E. McLoughlin Boulevard, Suite 100
     FOR JOINDER - 1
                                                                                                Vancouver, WA 98663
                                                                                                Phone: (360) 750-7547
                                                                                                  Fax: (360) 750-7548
              Case 2:20-cv-01169-BJR Document 13 Filed 09/25/20 Page 2 of 2



1     PETERSON RUSSELL KELLY                          HEURLIN, POTTER, JAHN, LEATHAM,
      LIVENGOOD, PLLC                                 HOLTMANN & STOKER, P.S.
2

3
      s/ Kevin B. Hansen                              s/ Stephen G. Leatham
4
      Kevin B. Hansen, WSBA #28349                    Stephen G. Leatham, WSBA #15572
      Of Attorneys for Plaintiff                      Of Attorneys for Defendants
5

6
                                                ORDER
7
            THIS MATTER having come before the Court on the above Stipulation of the parties, it is
8
     hereby ordered that Federal Insurance Company is joined as a third party defendant.
9
            SO ORDERED this 25th day of September, 2020.
10

11

12
                                                        A
                                                        Barbara Jacobs Rothstein
13
                                                        U.S. District Court Judge
14

15   Presented by:

16   HEURLIN, POTTER, JAHN, LEATHAM,
     HOLTMANN & STOKER, P.S.
17

18
     s/ Stephen G. Leatham
19   Stephen G. Leatham, WSBA #15572
     Of Attorneys for Defendants
20
     Approved as to Form; Notice of
21   Presentation Waived

22   PETERSON RUSSELL KELLY LIVENGOOD, PLLC
23
     s/ Kevin B. Hansen
24
     Kevin B. Hansen, WSBA #28349
     Of Attorneys for Plaintiff
25


     STIPULATION AND ORDER                                      Heurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
                                                                                211 E. McLoughlin Boulevard, Suite 100
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